






PER CURIAM HEADING






&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;NO. 12-05-00185-CV
&nbsp;
IN THE COURT OF APPEALS

TWELFTH COURT OF APPEALS DISTRICT

TYLER, TEXAS

RONALD E. FIX,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;§&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPEAL FROM THE 4TH
APPELLANT

V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;§&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUDICIAL DISTRICT COURT OF

DONNA L. PLUMMER,
APPELLEE&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;§&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;RUSK COUNTY, TEXAS





MEMORANDUM OPINION
PER CURIAM
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This appeal is being dismissed for failure to comply with the Texas Rules of Appellate
Procedure.  Tex. R. App. P. 42.3.  Pursuant to Rule 32.1, Appellant’s docketing statement was due
to have been filed at the time the appeal was perfected, i.e., April 29, 2005.  See Tex. R. App. P. 32.1. 
On June 9, 2005, this Court notified Appellant that he should file a docketing statement within ten
days if he had not already done so.  However, Appellant failed to file a docketing statement.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On June 23, 2005, this Court issued a second notice advising Appellant that the docketing
statement was past due.  The notice also advised Appellant that the filing fee was due to have been
paid on or before June 20, 2005, but had not been received.  See Tex. R. App. P. 5 (requiring
payment of filing fee at time an item is presented for filing).  The notice further provided that unless
the docketing statement and filing fee were filed on or before July 5, 2005, the appeal would be
presented for dismissal in accordance with Rule 42.3.  The time for filing the docketing statement
and paying the filing fee has expired, and Appellant has not complied with the Court’s request. 
Because Appellant has failed, after notice, to comply with Rule 5 and Rule 32.1, the appeal is
dismissed.  Tex. R. App. P. 42.3(c).
Opinion delivered July 13, 2005.
Panel consisted of Worthen, C.J., Griffith, J., and DeVasto, J.
&nbsp;
&nbsp;
(PUBLISH)


